Case 1:16-cr-20575-RNS Document 438 Entered on FLSD Docket 10/08/2019 Page 1 of 2



                              UNITED STA TES DISTRIC T CO UR T
                              SO UTH ERN D ISTRICT OF FLO R IDA

                             CA SE N O .
                                           21U.S.C.j963

   UNITED STA TES O F AM ERICA

   VS.

   Y INA M A RIA C ASTAN EDA BENA W DEZ,
         a/lt/a idlaa Reina,''
         a/lt/a idlngeniera,''

               D efendant.
                                                         /


                                           IN DICTM ENT

          The Grand Jury chargesthat:

          From at leastas early as in or around April20l5,and continuing through the date ofthe

   return ofthis lndictm ent,in the countries ofColom bia,Ecuador,Costa Rica,Guatem ala,M exico,

   and elsew here,the defendant,

                           Y IN A M AR IA CA STA N ED A BEN AW DEZ,
                                         a/k/a 4<La Reina,''
                                        a/k/a Klngeniera,''

   did know ingly and w illfully com bine,conspire,confederate,and agree with otherpersons known

   and unknown to the Grand Jury,to distribute a controlled substance in Schedule lI,intending,

   knowing, and having reasonable cause to believe that such controlled substance would be

   unlaw fully im ported into the United States,in violation of Title 2l,United States Code,Section

   959(a)(2);al1in violation ofTitle21,United StatesCode,Section963.
          W ith respect to the defendant, the controlled substance involved in the conspiracy

   attributableto herasa resultofherown conduct,and the conductofotherconspiratorsreasonably

   foreseeabletoher,isfive(5)kilogramsormoreofamixtureandsubstancecontainingadetectable
   amountofcocaine,inviolationofTitle21,UnitedStatesCode,Sections963and960(b)(1)(B).
Case 1:16-cr-20575-RNS Document 438 Entered on FLSD Docket 10/08/2019 Page 2 of 2




   W IFREDO A .FERRER
   U NITED STA TES A TTORNEY


   ROBERT A EM ERY
   A SSISTAN T U NITED STATES ATTORN EY




                                          2
